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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA

               Plaintiff,

                                                     CRIMINAL NO.: 3:20-mj-00127


TIMOTHY JOHN WATSON

               Defendant.


                                  MOTION TO CONTINUE

       Comes now the citizen accused, TIMOTHY JOHN WATSON, by counsel, S. Andrew

Arnold and does hereby request the continuance of the detention hearing in this matter which is

currently scheduled for the 10th day of November 2020.

       In support of this Motion the Defendant states as follows:

       1.      That counsel has recently been retained.

       2.      That the accused request continuance of the detention hearing to be rescheduled with

the Preliminary hearing set for November 17th, 2020 at 2:30 p.m.

       WHEREFORE, for the foregoing reasons the accused requests that the trial dates be re-

scheduled in this matter.

                                                     TIMOTHY JOHN WATSON
                                                     By counsel

/s/ S. Andrew Arnold___________
S. Andrew Arnold, Esq. (WV#6131)
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA

               Plaintiff,

                                                     CRIMINAL NO.: 3:20-mj-00127


TIMOTHY JOHN WATSON

               Defendant.



                                 CERTIFICATE OF SERVICE


       I, S. Andrew Arnold, Esquire, hereby certify that the MOTION TO CONTINUE was

electronically filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the following:

                                             Jarod J. Douglas
                                       U.S. Attorney’s Office – Mrt.
                                             U.S. Courthouse
                                       217 W. King Street, Suite 400
                                          Martinsburg, WV 25401
                                         tom.mucklow@usdoj.gov



                                                            /s/ S. Andrew Arnold_______
                                                            S. Andrew Arnold, Esquire
